      Case 18-12947 Doc 1 Filed 11/04/18 Entered 11/04/18 08:41:23 Main Document Page 1 of 27
 Fill in this information to identify your case:
 United States Bankruptcy Court for the:
 EASTERN DISTRICT OF LOUISIANA

 Case number (if known):                                      Chapter you are filing under:

                                                                       Chapter 7
                                                                       Chapter 11
                                                                       Chapter 12
                                                                                                                          Check if this is an
                                                                       Chapter 13
                                                                                                                           amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                         12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case
together--called a joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if
a form asks, "Do you own a car," the answer would be yes if either debtor owns a car. When information is needed about the
spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses
must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.



 Part 1:       Identify Yourself
                                       About Debtor 1:                                        About Debtor 2 (Spouse Only in a Joint Case):
1.   Your full name
     Write the name that is on your
                                       Helen
     government-issued picture
                                       First Name                                             First Name
     identification (for example,
     your driver's license or          J
     passport).                        Middle Name                                            Middle Name

                                       Drouillard
     Bring your picture                Last Name                                              Last Name
     identification to your meeting
     with the trustee.                 Suffix (Sr., Jr., II, III)                             Suffix (Sr., Jr., II, III)


2.   All other names you               Janet
     have used in the last 8           First Name                                             First Name
     years
                                       Middle Name                                            Middle Name
     Include your married or
                                       Drouillard
     maiden names.
                                       Last Name                                              Last Name


3.   Only the last 4 digits of
     your Social Security              xxx – xx –                   7        1       0    6   xxx – xx –
     number or federal                 OR                                                     OR
     Individual Taxpayer
     Identification number             9xx – xx –                                             9xx – xx –
     (ITIN)

4.   Any business names                      I have not used any business names or EINs.           I have not used any business names or EINs.
     and Employer
     Identification Numbers
     (EIN) you have used in            Business name                                          Business name
     the last 8 years
                                       Business name                                          Business name
     Include trade names and
     doing business as names
                                       Business name                                          Business name




Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                            page 1
      Case 18-12947 Doc 1 Filed 11/04/18 Entered 11/04/18 08:41:23 Main Document Page 2 of 27

Debtor 1     Helen J Drouillard                                                             Case number (if known)

                                   About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):

                                                –                                                           –
                                   EIN                                                          EIN

                                                –                                                           –
                                   EIN                                                          EIN
5.   Where you live                                                                             If Debtor 2 lives at a different address:

                                   18205 Monga Dr.
                                   Number       Street                                          Number      Street




                                   Covington                       LA       70433
                                   City                            State    ZIP Code            City                           State    ZIP Code

                                   Saint Tammany Parish
                                   County                                                       County

                                   If your mailing address is different from                    If Debtor 2's mailing address is different
                                   the one above, fill it in here. Note that the                from yours, fill it in here. Note that the court
                                   court will send any notices to you at this                   will send any notices to you at this mailing
                                   mailing address.                                             address.



                                   Number       Street                                          Number      Street


                                   P.O. Box                                                     P.O. Box


                                   City                            State    ZIP Code            City                           State    ZIP Code


6.   Why you are choosing          Check one:                                                   Check one:
     this district to file for
     bankruptcy                           Over the last 180 days before filing this                  Over the last 180 days before filing this
                                           petition, I have lived in this district longer              petition, I have lived in this district longer
                                           than in any other district.                                 than in any other district.


                                          I have another reason. Explain.                            I have another reason. Explain.
                                           (See 28 U.S.C. § 1408.)                                     (See 28 U.S.C. § 1408.)


 Part 2:       Tell the Court About Your Bankruptcy Case

7.   The chapter of the           Check one: (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
     Bankruptcy Code you          for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     are choosing to file
                                          Chapter 7
     under                        
                                         Chapter 11

                                         Chapter 12

                                         Chapter 13




Official Form 101                         Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 2
      Case 18-12947 Doc 1 Filed 11/04/18 Entered 11/04/18 08:41:23 Main Document Page 3 of 27

Debtor 1     Helen J Drouillard                                                      Case number (if known)

8.   How you will pay the fee         I will pay the entire fee when I file my petition. Please check with the clerk's office in your local
                                       court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
                                       pay with cash, cashier's check, or money order. If your attorney is submitting your payment on your
                                       behalf, your attorney may pay with a credit card or check with a pre-printed address.


                                      I need to pay the fee in installments. If you choose this option, sign and attach the Application for
                                       Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                      I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                       By law, a judge may, but is not required to, waive your fee, and may do so only if your income is less
                                       than 150% of the official poverty line that applies to your family size and you are unable to pay the
                                       fee in installments). If you choose this option, you must fill out the Application to Have the Chapter 7
                                       Filing Fee Waived (Official Form 103B) and file it with your petition.


9.   Have you filed for               No
     bankruptcy within the
     last 8 years?                    Yes.

                                  District Tampa, FL                                     When 07/14/2015         Case number 15-07250
                                                                                                MM / DD / YYYY
                                  District                                               When                    Case number
                                                                                                MM / DD / YYYY
                                  District                                               When                    Case number
                                                                                                MM / DD / YYYY

10. Are any bankruptcy                No
    cases pending or being
    filed by a spouse who is          Yes.
    not filing this case with
                                  Debtor                                                             Relationship to you
    you, or by a business
    partner, or by an             District                                               When                    Case number,
    affiliate?                                                                                  MM / DD / YYYY   if known


                                  Debtor                                                             Relationship to you

                                  District                                               When                    Case number,
                                                                                                MM / DD / YYYY   if known

11. Do you rent your                  No.    Go to line 12.
    residence?
                                      Yes. Has your landlord obtained an eviction judgment against you?

                                                  No. Go to line 12.
                                                  Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A)
                                                   and file it as part of this bankruptcy petition.




Official Form 101                       Voluntary Petition for Individuals Filing for Bankruptcy                                          page 3
      Case 18-12947 Doc 1 Filed 11/04/18 Entered 11/04/18 08:41:23 Main Document Page 4 of 27

Debtor 1     Helen J Drouillard                                                        Case number (if known)


 Part 3:      Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor            No. Go to Part 4.
    of any full- or part-time
    business?
                                         Yes. Name and location of business


    A sole proprietorship is a
                                                Name of business, if any
    business you operate as an
    individual, and is not a
    separate legal entity such as               Number     Street
    a corporation, partnership, or
    LLC.

    If you have more than one                   City                                                    State          ZIP Code
    sole proprietorship, use a
    separate sheet and attach it                Check the appropriate box to describe your business:
    to this petition.
                                                      Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                      Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                      Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                      Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                      None of the above

13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
    Chapter 11 of the                can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
    Bankruptcy Code and              most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return
    are you a small business         or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor?
                                         No.   I am not filing under Chapter 11.

                                         No.   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    For a definition of small
                                                the Bankruptcy Code.
    business debtor, see
    11 U.S.C. § 101(51D).
                                         Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                               Bankruptcy Code.


 Part 4:      Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any               No
    property that poses or is
    alleged to pose a threat of
                                         Yes. What is the hazard?

    imminent and identifiable
    hazard to public health or
    safety? Or do you own
    any property that needs                     If immediate attention is needed, why is it needed?
    immediate attention?

    For example, do you own
    perishable goods, or
    livestock that must be fed, or              Where is the property?
    a building that needs urgent                                           Number   Street
    repairs?



                                                                           City                                     State         ZIP Code




Official Form 101                          Voluntary Petition for Individuals Filing for Bankruptcy                                          page 4
      Case 18-12947 Doc 1 Filed 11/04/18 Entered 11/04/18 08:41:23 Main Document Page 5 of 27

Debtor 1     Helen J Drouillard                                                          Case number (if known)


 Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling
15. Tell the court          About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
    whether you             You must check one:                                          You must check one:
    have received a
    briefing about
                             I received a briefing from an approved credit               I received a briefing from an approved credit
                               counseling agency within the 180 days before I               counseling agency within the 180 days before I
    credit                     filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
    counseling.                certificate of completion.                                   certificate of completion.
                               Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
    The law requires           plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
    that you receive a
    briefing about credit    I received a briefing from an approved credit               I received a briefing from an approved credit
                               counseling agency within the 180 days before I               counseling agency within the 180 days before I
    counseling before
                               filed this bankruptcy petition, but I do not have            filed this bankruptcy petition, but I do not have
    you file for
                               a certificate of completion.                                 a certificate of completion.
    bankruptcy. You
    must truthfully            Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
    check one of the           you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
    following choices.         plan, if any.                                                plan, if any.
    If you cannot do so,
    you are not eligible     I certify that I asked for credit counseling                I certify that I asked for credit counseling
                               services from an approved agency, but was                    services from an approved agency, but was
    to file.                   unable to obtain those services during the 7                 unable to obtain those services during the 7
                               days after I made my request, and exigent                    days after I made my request, and exigent
    If you file anyway,        circumstances merit a 30-day temporary                       circumstances merit a 30-day temporary
    the court can              waiver of the requirement.                                   waiver of the requirement.
    dismiss your case,
    you will lose              To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
    whatever filing fee        requirement, attach a separate sheet explaining what         requirement, attach a separate sheet explaining what
    you paid, and your         efforts you made to obtain the briefing, why you             efforts you made to obtain the briefing, why you
    creditors can begin        were unable to obtain it before you filed for                were unable to obtain it before you filed for
    collection activities      bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
    again.                     required you to file this case.                              required you to file this case.

                               Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                               dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                               briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.

                               If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                               still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                               You must file a certificate from the approved agency,        You must file a certificate from the approved agency,
                               along with a copy of the payment plan you                    along with a copy of the payment plan you
                               developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                               may be dismissed.                                            may be dismissed.

                               Any extension of the 30-day deadline is granted only         Any extension of the 30-day deadline is granted only
                               for cause and is limited to a maximum of 15 days.            for cause and is limited to a maximum of 15 days.

                             I am not required to receive a briefing about               I am not required to receive a briefing about
                               credit counseling because of:                                credit counseling because of:

                                  Incapacity.    I have a mental illness or a mental          Incapacity.    I have a mental illness or a mental
                                                  deficiency that makes me                                     deficiency that makes me
                                                  incapable of realizing or making                             incapable of realizing or making
                                                  rational decisions about finances.                           rational decisions about finances.

                                  Disability.    My physical disability causes me             Disability.    My physical disability causes me
                                                  to be unable to participate in a                             to be unable to participate in a
                                                  briefing in person, by phone, or                             briefing in person, by phone, or
                                                  through the internet, even after I                           through the internet, even after I
                                                  reasonably tried to do so.                                   reasonably tried to do so.

                                  Active duty. I am currently on active military              Active duty. I am currently on active military
                                                duty in a military combat zone.                              duty in a military combat zone.
                               If you believe you are not required to receive a             If you believe you are not required to receive a
                               briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                               motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.




Official Form 101                           Voluntary Petition for Individuals Filing for Bankruptcy                                          page 5
      Case 18-12947 Doc 1 Filed 11/04/18 Entered 11/04/18 08:41:23 Main Document Page 6 of 27

Debtor 1     Helen J Drouillard                                                         Case number (if known)


 Part 6:      Answer These Questions for Reporting Purposes
16. What kind of debts do you      16a.    Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
    have?                                  as "incurred by an individual primarily for a personal, family, or household purpose."
                                            No. Go to line 16b.
                                            Yes. Go to line 17.
                                   16b.    Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                            No. Go to line 16c.
                                            Yes. Go to line 17.
                                   16c.    State the type of debts you owe that are not consumer or business debts.


17. Are you filing under
    Chapter 7?                            No.   I am not filing under Chapter 7. Go to line 18.
                                   
    Do you estimate that after           Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                     administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and
    administrative expenses                         No
    are paid that funds will be
                                                    Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                1-49                            1,000-5,000                          25,001-50,000
    you estimate that you                 50-99                            5,001-10,000                          50,001-100,000
    owe?
                                                                                                         
                                         100-199                         10,001-25,000                        More than 100,000
                                         200-999

19. How much do you                      $0-$50,000                      $1,000,001-$10 million               $500,000,001-$1 billion
    estimate your assets to               $50,001-$100,000                 $10,000,001-$50 million               $1,000,000,001-$10 billion
    be worth?
                                                                                                         
                                         $100,001-$500,000               $50,000,001-$100 million             $10,000,000,001-$50 billion
                                         $500,001-$1 million             $100,000,001-$500 million            More than $50 billion

20. How much do you                      $0-$50,000                      $1,000,001-$10 million               $500,000,001-$1 billion
    estimate your liabilities to          $50,001-$100,000                 $10,000,001-$50 million               $1,000,000,001-$10 billion
    be?
                                                                                                         
                                         $100,001-$500,000               $50,000,001-$100 million             $10,000,000,001-$50 billion
                                         $500,001-$1 million             $100,000,001-$500 million            More than $50 billion

 Part 7:      Sign Below
For you                            I have examined this petition, and I declare under penalty of perjury that the information provided is true
                                   and correct.

                                   If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12,
                                   or 13 of title 11, United States Code. I understand the relief available under each chapter, and I choose to
                                   proceed under Chapter 7.

                                   If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me
                                   fill out this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                   I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                   I understand making a false statement, concealing property, or obtaining money or property by fraud in
                                   connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
                                   or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                   X /s/ Helen J Drouillard                                    X
                                       Helen J Drouillard, Debtor 1                                Signature of Debtor 2

                                       Executed on 11/02/2018                                      Executed on
                                                   MM / DD / YYYY                                                MM / DD / YYYY


Official Form 101                          Voluntary Petition for Individuals Filing for Bankruptcy                                           page 6
      Case 18-12947 Doc 1 Filed 11/04/18 Entered 11/04/18 08:41:23 Main Document Page 7 of 27

Debtor 1     Helen J Drouillard                                                       Case number (if known)

For your attorney, if you are     I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
represented by one                eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the
                                  relief available under each chapter for which the person is eligible. I also certify that I have delivered to
If you are not represented by     the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies,
an attorney, you do not need      certify that I have no knowledge after an inquiry that the information in the schedules filed with the petition
to file this page.                is incorrect.



                                  X /s/ Rachel Thyre Anderson                                           Date 11/02/2018
                                     Signature of Attorney for Debtor                                        MM / DD / YYYY


                                     Rachel Thyre Anderson
                                     Printed name
                                     Law Office of Rachel Thyre Anderson, LLC
                                     Firm Name
                                     428 W. 21st Ave.
                                     Number          Street
                                     Covington, LA 70433

                                     rachel@rachelandersonlaw.com


                                     City                                                       State           ZIP Code


                                     Contact phone (985) 377-9271                     Email address rachel@rachelandersonlaw.com


                                     33501                                                      LA
                                     Bar number                                                 State




Official Form 101                       Voluntary Petition for Individuals Filing for Bankruptcy                                            page 7
      Case 18-12947 Doc 1 Filed 11/04/18 Entered 11/04/18 08:41:23 Main Document Page 8 of 27
 Fill in this information to identify your case:
 Debtor 1             Helen                   J                    Drouillard
                      First Name              Middle Name          Last Name

 Debtor 2
 (Spouse, if filing) First Name               Middle Name          Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF LOUISIANA

 Case number
 (if known)                                                                                                           Check if this is an
                                                                                                                       amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                            04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.


 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.   What is your current marital status?
      Married
      Not married
2.   During the last 3 years, have you lived anywhere other than where you live now?
      No
      Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
         Debtor 1:                                          Dates Debtor 1       Debtor 2:                                         Dates Debtor 2
                                                            lived there                                                            lived there

                                                                                       Same as Debtor 1                               Same as Debtor 1


         7005 Hazeltine Circle                              From     1996                                                          From
         Number      Street                                                      Number      Street
                                                            To       2017                                                          To


         Lakeland                  FL       33810
         City                      State    ZIP Code                             City                      State   ZIP Code


3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
     (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
     Washington, and Wisconsin.)

         No
         Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 1
      Case 18-12947 Doc 1 Filed 11/04/18 Entered 11/04/18 08:41:23 Main Document Page 9 of 27

Debtor 1       Helen J Drouillard                                                       Case number (if known)

 Part 2:         Explain the Sources of Your Income
4.   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.


          No
          Yes. Fill in the details.

5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;
     unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
     and gambling and lottery winnings. If you are in a joint case and you have income that you received together, list it only once under
     Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.


          No
          Yes. Fill in the details.


                                                  Debtor 1                                         Debtor 2

                                                Sources of income           Gross income          Sources of income           Gross income
                                                Describe below.             from each source      Describe below.             from each source
                                                                            (before deductions                                (before deductions
                                                                            and exclusions                                    and exclusions

From January 1 of the current year until        Pension                            $17,533.98
the date you filed for bankruptcy:              SSI                                $12,618.00



For the last calendar year:                     Pension                            $23,378.64
(January 1 to December 31, 2017 )               SSI                                $16,824.00
                                YYYY



For the calendar year before that:              Pension                            $23,378.64
(January 1 to December 31, 2016 )               SSI                                $16,824.00
                                YYYY




Official Form 107                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 2
       Case 18-12947 Doc 1 Filed 11/04/18 Entered 11/04/18 08:41:23 Main Document Page 10 of 27

Debtor 1         Helen J Drouillard                                                            Case number (if known)


  Part 3:         List Certain Payments You Made Before You Filed for Bankruptcy
6.     Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

          No.       Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                     "incurred by an individual primarily for a personal, family, or household purpose."

                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

                       No. Go to line 7.

                       Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
                             total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                             child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

          Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                       No. Go to line 7.

                       Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                             creditor. Do not include payments for domestic support obligations, such as child support and alimony.
                             Also, do not include payments to an attorney for this bankruptcy case.

                                                               Dates of       Total amount         Amount you          Was this payment for...
                                                               payment        paid                 still owe
Honor Credit Union                                                                 $933.66            $2,623.00             Mortgage
Creditor's name                                                                                                              Car
                                                               July-September 2018                                     
8385 Edgewood Dr.                                                                                                            Credit card
Number      Street                                                                                                     
                                                                                                                            Loan repayment
                                                                                                                            Suppliers or vendors
Berrien Springs                      MI       49103                                                                         Other
City                                 State    ZIP Code

7.     Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
       Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
       corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
       agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
       such as child support and alimony.


          No
          Yes. List all payments to an insider.




Official Form 107                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 3
       Case 18-12947 Doc 1 Filed 11/04/18 Entered 11/04/18 08:41:23 Main Document Page 11 of 27

Debtor 1        Helen J Drouillard                                                               Case number (if known)

8.     Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
       benefited an insider?
       Include payments on debts guaranteed or cosigned by an insider.

          No
          Yes. List all payments that benefited an insider.




  Part 4:         Identify Legal Actions, Repossessions, and Foreclosures
9.     Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
       List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
       modifications, and contract disputes.


          No
          Yes. Fill in the details.

Case title                                      Nature of the case                        Court or agency                             Status of the case
Citimortgage v. Helen Janet                     Foreclosure                               Hon. Catherine Combee
                                                                                                                                               Pending
Drouillard et al.                                                                         Court Name
                                                                                          Polk County Courthouse                                On appeal
                                                                                          Number     Street
                                                                                                                                            
Case number 53-2017-CA001928                                                              255 N. Broadway Ave.                                 Concluded

                                                                                          Bartow                   FL      33830
                                                                                          City                     State   ZIP Code


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
    seized, or levied?
    Check all that apply and fill in the details below.


          No. Go to line 11.
          Yes. Fill in the information below.

                                                                Describe the property                            Date             Value of the property
Honor Credit Union                                              2009 Chevrolet Traverse                                2018               $1,000.00
Creditor's Name

8385 Edgewood Dr.
Number       Street                                             Explain what happened
                                                                 Property was repossessed.
                                                                 Property was foreclosed.
Berrien Springs                        MI         49103          Property was garnished.
City                                   State      ZIP Code       Property was attached, seized, or levied.
                                                                Describe the property                            Date             Value of the property
Honor Credit Union                                              2007 Chevrolet Impala                                 10/2018             $1,000.00
Creditor's Name

8385 Edgewood Dr.
Number       Street                                             Explain what happened
                                                                 Property was repossessed.
                                                                 Property was foreclosed.
Berrien Springs                        MI         49103          Property was garnished.
City                                   State      ZIP Code       Property was attached, seized, or levied.




Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 4
       Case 18-12947 Doc 1 Filed 11/04/18 Entered 11/04/18 08:41:23 Main Document Page 12 of 27

Debtor 1         Helen J Drouillard                                                        Case number (if known)

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
    amounts from your accounts or refuse to make a payment because you owed a debt?

          No
          Yes. Fill in the details.

                                                       Describe the action the creditor took                      Date action   Amount
                                                       Amount unknown, froze bank accounts for                    was taken
Honor Credit Union                                     loan/credit card
Creditor's Name                                                                                                      Various

8385 Edgewood Dr.
Number     Street




Berrien Springs               MI       49103
City                          State    ZIP Code        Last 4 digits of account number: XXXX-

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?

          No
          Yes

  Part 5:         List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

          No
          Yes. Fill in the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
    to any charity?


          No
          Yes. Fill in the details for each gift or contribution.

  Part 6:         List Certain Losses
15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
    other disaster, or gambling?

          No
          Yes. Fill in the details.




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                          page 5
       Case 18-12947 Doc 1 Filed 11/04/18 Entered 11/04/18 08:41:23 Main Document Page 13 of 27

Debtor 1       Helen J Drouillard                                                          Case number (if known)

  Part 7:        List Certain Payments or Transfers
16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
       Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

          No
          Yes. Fill in the details.

                                                     Description and value of any property transferred          Date payment        Amount of
Law Office of Rachel Thyre Anderson, LL $335 filing fee, $1165 attorney fee                                     or transfer was     payment
Person Who Was Paid                                                                                             made

428 W. 21st Ave                                                                                                    09/17/2018           $1,500.00
Number      Street




Covington                     LA       70433
City                          State    ZIP Code


Email or website address


Person Who Made the Payment, if Not You

                                                     Description and value of any property transferred          Date payment        Amount of
Money Sharp                                          Credit counseling course                                   or transfer was     payment
Person Who Was Paid                                                                                             made

                                                                                                                     9-17-18             $10.00
Number      Street




City                          State    ZIP Code

mone
Email or website address


Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone who promised to help you deal with your creditors or to make payments to your creditors?
       Do not include any payment or transfer that you listed on line 16.

          No
          Yes. Fill in the details.




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 6
       Case 18-12947 Doc 1 Filed 11/04/18 Entered 11/04/18 08:41:23 Main Document Page 14 of 27

Debtor 1       Helen J Drouillard                                                           Case number (if known)

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
    property transferred in the ordinary course of your business or financial affairs?
       Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
       Do not include gifts and transfers that you have already listed on this statement.


          No
          Yes. Fill in the details.

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
    you are a beneficiary? (These are often called asset-protection devices.)

          No
          Yes. Fill in the details.

  Part 8:        List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
    benefit, closed, sold, moved, or transferred?
       Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
       houses, pension funds, cooperatives, associations, and other financial institutions.

          No
          Yes. Fill in the details.

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
    for securities, cash, or other valuables?

          No
          Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
     No
     Yes. Fill in the details.
                                                 Who else has or had access to it?           Describe the contents                      Do you still
                                                                                                                                        have it?

All Seasons Storage                                                                          Mother's furniture (damaged)                  No
Name of Storage Facility                         Name
                                                                                                                                           Yes
50009 23rd St
Number      Street                               Number    Street




Mattawaro                  MI      49071
City                       State   ZIP Code      City                   State   ZIP Code


  Part 9:        Identify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.

          No
          Yes. Fill in the details.

                                                 Where is the property?                      Describe the property                    Value

Charlotte Marie Westling                                                                     Debtor's sister is disabled;
Owner's Name                                                                                 debtor is the trustee of her
                                                 Chase bank account                          sister's retirement funds held
Number      Street                               Number    Street                            in a Chase bank account, and
                                                                                             deducts for sister's living
                                                                                             expenses only--balance is
                                                                                             unknown
City                       State   ZIP Code      City                   State   ZIP Code



Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 7
     Case 18-12947 Doc 1 Filed 11/04/18 Entered 11/04/18 08:41:23 Main Document Page 15 of 27

Debtor 1       Helen J Drouillard                                                              Case number (if known)

 Part 10:        Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:

 Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
  hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
  including statutes or regulations controlling the cleanup of these substances, wastes, or material.
 Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
  utilize it or used to own, operate, or utilize it, including disposal sites.

 Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
  substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
    law?


          No
          Yes. Fill in the details.

25. Have you notified any governmental unit of any release of hazardous material?
     No
     Yes. Fill in the details.
26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
    orders.

          No
          Yes. Fill in the details.

 Part 11:        Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
    business?

               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
               A member of a limited liability company (LLC) or limited liability partnership (LLP)
               A partner in a partnership
               An officer, director, or managing executive of a corporation
               An owner of at least 5% of the voting or equity securities of a corporation

          No. None of the above applies. Go to Part 12.
          Yes. Check all that apply above and fill in the details below for each business.

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
    all financial institutions, creditors, or other parties.

          No
          Yes. Fill in the details below.




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                       page 8
      Case 18-12947 Doc 1 Filed 11/04/18 Entered 11/04/18 08:41:23 Main Document Page 16 of 27

Debtor 1      Helen J Drouillard                                                    Case number (if known)

 Part 12:      Sign Below
I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury
that answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



X /s/ Helen J Drouillard                              X
    Helen J Drouillard, Debtor 1                          Signature of Debtor 2

    Date     11/02/2018                                   Date


Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

   No
   Yes


Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

   No
   Yes. Name of person                                                                   Attach the Bankruptcy Petition Preparer's Notice,
                                                                                          Declaration, and Signature (Official Form 119).




Official Form 107                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 9
     Case 18-12947 Doc 1 Filed 11/04/18 Entered 11/04/18 08:41:23 Main Document Page 17 of 27
 Fill in this information to identify your case:
 Debtor 1             Helen               J                      Drouillard
                      First Name          Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF LOUISIANA

 Case number
 (if known)                                                                                                                  Check if this is an
                                                                                                                              amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                              12/15

If you are an individual filing under chapter 7, you must fill out this form if:

 creditors have claims secured by your property, or

 you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting
of creditors, whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors
and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known).


 Part 1:          List Your Creditors Who Hold Secured Claims

1.   For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D),
     fill in the information below.

     Identify the creditor and the property that is collateral         What do you intend to do with the            Did you claim the property
                                                                       property that secures a debt?                as exempt on Schedule C?

     Creditor's        Honor Credit Union                                   Surrender the property.                   No
     name:                                                                   Retain the property and redeem it.         Yes
                                                                                                                   
     Description of                                                         Retain the property and enter into a
                       2012 Chevrolet Impala (approx.
     property                                                                Reaffirmation Agreement.
                       150,000 miles)
     securing debt:                                                         Retain the property and [explain]:


     Creditor's        Internal Revenue Service                             Surrender the property.                   No
     name:                                                                   Retain the property and redeem it.         Yes
                                                                                                                   
     Description of                                                         Retain the property and enter into a
                       Debtor's former residence
     property                                                                Reaffirmation Agreement.
     securing debt:                                                         Retain the property and [explain]:


     Creditor's        Mr. Cooper                                           Surrender the property.                   No
     name:                                                                   Retain the property and redeem it.         Yes
                                                                                                                   
     Description of                                                         Retain the property and enter into a
                       Debtor's former residence
     property                                                                Reaffirmation Agreement.
     securing debt:                                                         Retain the property and [explain]:




Official Form 108                         Statement of Intention for Individuals Filing Under Chapter 7                                    page 1
     Case 18-12947 Doc 1 Filed 11/04/18 Entered 11/04/18 08:41:23 Main Document Page 18 of 27

Debtor 1     Helen J Drouillard                                                      Case number (if known)

 Part 2:      List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not
yet ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

    Describe your unexpired personal property leases                                                          Will this lease be assumed?

    None.


 Part 3:      Sign Below

   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and
   personal property that is subject to an unexpired lease.

X /s/ Helen J Drouillard                              X
   Helen J Drouillard, Debtor 1                           Signature of Debtor 2

   Date 11/02/2018                                        Date
        MM / DD / YYYY                                           MM / DD / YYYY




Official Form 108                      Statement of Intention for Individuals Filing Under Chapter 7                                  page 2
     Case 18-12947 Doc 1 Filed 11/04/18 Entered 11/04/18 08:41:23 Main Document Page 19 of 27




Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)



    This notice is for you if:                                  Chapter 7: Liquidation
     You are an individual filing for bankruptcy,
      and                                                              $245    filing fee
                                                                        $75    administrative fee
     Your debts are primarily consumer debts.                  +       $15    trustee surcharge
      Consumer debts are defined in 11 U.S.C. § 101(8)
                                                                       $335    total fee
      as "incurred by an individual primarily for a
      personal, family, or household purpose."
                                                                Chapter 7 is for individuals who have financial difficulty
                                                                preventing them from paying their debts and who are
                                                                willing to allow their non-exempt property to be used to
The types of bankruptcy that are available                      pay their creditors. The primary purpose of filing under
to individuals                                                  chapter 7 is to have your debts discharged. The
                                                                bankruptcy discharge relieves you after bankruptcy from
                                                                having to pay many of your pre-bankruptcy debts.
                                                                Exceptions exist for particular debts, and liens on
Individuals who meet the qualifications may file under one
                                                                property may still be enforced after discharge. For
of four different chapters of the Bankruptcy Code:
                                                                example, a creditor may have the right to foreclose a
                                                                home mortgage or repossess an automobile.
    Chapter 7 -- Liquidation
                                                                However, if the court finds that you have committed
    Chapter 11 -- Reorganization                               certain kinds of improper conduct described in the
                                                                Bankruptcy Code, the court may deny your discharge.
    Chapter 12 -- Voluntary repayment plan for family
                   farmers or fishermen                         You should know that the even if you file chapter 7 and
                                                                you receive a discharge, some debts are not discharged
                                                                under the law. Therefore, you may still be responsible to
    Chapter 13 -- Voluntary repayment plan for
                                                                pay:
                   individuals with regular income
                                                                    most taxes;
You should have an attorney review your                             most student loans;
decision to file for bankruptcy and the choice
of chapter.                                                         domestic support and property settlement obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                             page 1
    Case 18-12947 Doc 1 Filed 11/04/18 Entered 11/04/18 08:41:23 Main Document Page 20 of 27




   most fines, penalties, forfeitures, and criminal            for your state of residence and family size, depending
    restitution obligations; and                                on the results of the Means Test, the U.S. trustee,
                                                                bankruptcy administrator, or creditors can file a motion to
   certain debts that are not listed in your bankruptcy        dismiss your case under § 707(b) of the Bankruptcy
    papers.                                                     Code. If a motion is filed, the court will decide if your
                                                                case should be dismissed. To avoid dismissal, you may
You may also be required to pay debts arising from:             choose to proceed under another chapter of the
                                                                Bankruptcy Code.
   fraud or theft;
                                                                If you are an individual filing for chapter 7 bankruptcy, the
   fraud or defalcation while acting in breach of fiduciary
                                                                trustee may sell your property to pay your debts, subject
    capacity;
                                                                to your right to exempt the property or a portion of the
                                                                proceeds from the sale of the property. The property,
   intentional injuries that you inflicted; and
                                                                and the proceeds from property that your bankruptcy
   death or personal injury caused by operating a motor        trustee sells or liquidates that you are entitled to, is
    vehicle, vessel, or aircraft while intoxicated from         called exempt property. Exemptions may enable you to
    alcohol or drugs.                                           keep your home, a car, clothing, and household items or
                                                                to receive some of the proceeds if the property is sold.
If your debts are primarily consumer debts, the court can
dismiss your chapter 7 case if it finds that you have           Exemptions are not automatic. To exempt property, you
enough income to repay creditors a certain amount. You          must list it on Schedule C: The Property You Claim as
must file Chapter 7 Statement of Your Current Monthly           Exempt (Official Form 106C). If you do not list the
Income (Official Form 122A-1) if you are an individual filing   property, the trustee may sell it and pay all of the
for bankruptcy under chapter 7. This form will determine        proceeds to your creditors.
your current monthly income and compare whether your
income is more than the median income that applies in
your state.

If your income is not above the median for your state,
                                                                Chapter 11: Reorganization
you will not have to complete the other chapter 7 form,
the Chapter 7 Means Test Calculation (Official Form                  $1,167    filing fee
122A-2).                                                               $550    administrative fee
                                                                +
If your income is above the median for your state, you must          $1,717    total fee
file a second form--the Chapter 7 Means Test Calculation
(Official Form 122A-2). The calculations on the form--          Chapter 11 is often used for reorganizing a business, but
sometimes called the Means Test-- deduct from your              is also available to individuals. The provisions of chapter
income living expenses and payments on certain debts to         11 are too complicated to summarize briefly.
determine any amount available to pay unsecured
creditors. If your income is more than the median income




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                               page 2
        Case 18-12947 Doc 1 Filed 11/04/18 Entered 11/04/18 08:41:23 Main Document Page 21 of 27

         Read These Important Warnings

         Because bankruptcy can have serious long-term financial and legal consequences, including loss of
         your property, you should hire an attorney and carefully consider all of your options before you file.
         Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
         and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
         properly and protect you, your family, your home, and your possessions.

         Although the law allows you to represent yourself in bankruptcy court, you should understand that
         many people find it difficult to represent themselves successfully. The rules are technical, and a
         mistake or inaction may harm you. If you file without an attorney, you are still responsible for
         knowing and following all of the legal requirements.

         You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
         necessary documents.

         Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
         bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
         fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up
         to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                 Under chapter 13, you must file with the court a plan to
Chapter 12: Repayment plan for family farmers                    repay your creditors all or part of the money that you owe
            or fishermen                                         them, usually using your future earnings. If the court
                                                                 approves your plan, the court will allow you to repay your
                                                                 debts, as adjusted by the plan, within 3 years or 5 years,
         $200   filing fee                                       depending on your income and other factors.
+         $75   administrative fee
                                                                 After you make all the payments under your plan, many
         $275   total fee
                                                                 of your debts are discharged. The debts that are not
                                                                 discharged and that you may still be responsible to pay
Similar to chapter 13, chapter 12 permits family farmers
                                                                 include:
and fishermen to repay their debts over a period of time
using future earnings and to discharge some debts that
are not paid.                                                       domestic support obligations,
                                                                    most student loans,
                                                                    certain taxes,
Chapter 13: Repayment plan for individuals with
            regular income                                          debts for fraud or theft,
                                                                    debts for fraud or defalcation while acting in a
                                                                     fiduciary capacity,
           $235    filing fee
    +       $75    administrative fee
                                                                    most criminal fines and restitution obligations,
           $310    total fee
                                                                    certain debts that are not listed in your bankruptcy
                                                                     papers,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in
                                                                    certain debts for acts that caused death or personal
installments over a period of time and to discharge
                                                                     injury, and
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain
                                                                    certain long-term secured debts.
dollar amounts set forth in 11 U.S.C. § 109.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                 page 3
     Case 18-12947 Doc 1 Filed 11/04/18 Entered 11/04/18 08:41:23 Main Document Page 22 of 27




                                                                A married couple may file a bankruptcy case together--
    Warning: File Your Forms on Time                            called a joint case. If you file a joint case and each
                                                                spouse lists the same mailing address on the
    Section 521(a)(1) of the Bankruptcy Code requires           bankruptcy petition, the bankruptcy court generally will
    that you promptly file detailed information about           mail you and your spouse one copy of each notice,
    your creditors, assets, liabilities, income, expenses       unless you file a statement with the court asking that
    and general financial condition. The court may              each spouse receive separate copies.
    dismiss your bankruptcy case if you do not file this
    information within the deadlines set by the
    Bankruptcy Code, the Bankruptcy Rules, and local
    rules of the court.                                         Understand which services you could
                                                                receive from credit counseling agencies
    For more information about the documents and
    their deadlines, go to:
                                                                The law generally requires that you receive a credit
    http://www.uscourts.gov/bkforms/bankruptcy_forms            counseling briefing from an approved credit counseling
    .html#procedure.                                            agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                case, both spouses must receive the briefing. With
                                                                limited exceptions, you must receive it within the 180
                                                                days before you file your bankruptcy petition. This
Bankruptcy crimes have serious                                  briefing is usually conducted by telephone or on the
consequences                                                    Internet.

    If you knowingly and fraudulently conceal assets or        In addition, after filing a bankruptcy case, you generally
     make a false oath or statement under penalty of            must complete a financial management instructional
     perjury--either orally or in writing--in connection with   course before you can receive a discharge. If you are
     a bankruptcy case, you may be fined, imprisoned, or        filing a joint case, both spouses must complete the
     both.                                                      course.

                                                                You can obtain the list of agencies approved to provide
    All information you supply in connection with a            both the briefing and the instructional course from:
     bankruptcy case is subject to examination by the
     Attorney General acting through the Office of the          http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html.
     U.S. Trustee, the Office of the U.S. Attorney, and
     other offices and employees of the U.S. Department         In Alabama and North Carolina, go to:
     of Justice.                                                http://www.uscourts.gov/FederalCourts/Bankruptcy/Bankru
                                                                ptcyResources/ApprovedCreditAndDebtCounselors.aspx.

Make sure the court has your mailing
address                                                         If you do not have access to a computer, the clerk of the
                                                                bankruptcy court may be able to help you obtain the list.
The bankruptcy court sends notices to the mailing address
you list on Voluntary Petition for Individuals Filing for
Bankruptcy (Official Form 101). To ensure you receive
information about your case, Bankruptcy Rule 4002
requires that you notify the court of any changes in your
address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                              page 4
Case 18-12947 Doc 1 Filed 11/04/18 Entered 11/04/18 08:41:23 Main Document Page 23 of 27
       Case 18-12947 Doc 1 Filed 11/04/18 Entered 11/04/18 08:41:23 Main Document Page 24 of 27
B2030 (Form 2030) (12/15)
                                                         UNITED STATES BANKRUPTCY COURT
                                                          EASTERN DISTRICT OF LOUISIANA
                                                               NEW ORLEANS DIVISION
In re Helen J Drouillard                                                                                                          Case No.

                                                                                                                                  Chapter     7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept..................................................................                          $1,165.00
     Prior to the filing of this statement I have received.......................................................                           $1,165.00
     Balance Due...................................................................................................................               $0.00

2. The source of the compensation paid to me was:
                      Debtor                                  Other (specify)

3. The source of compensation to be paid to me is:
                      Debtor                                  Other (specify)

4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

          I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
    Case 18-12947 Doc 1 Filed 11/04/18 Entered 11/04/18 08:41:23 Main Document Page 25 of 27
B2030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
   Representation of the debtor in any dischargeability actions, judicial lien avoidances, relief from stay actions or
   any other adversary proceedings.




                                                          CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
  representation of the debtor(s) in this bankruptcy proceeding.


                  11/02/2018                         /s/ Rachel Thyre Anderson
                     Date                            Rachel Thyre Anderson                      Bar No. 33501
                                                     Law Office of Rachel Thyre Anderson, LLC
                                                     428 W. 21st Ave.
                                                     Covington, LA 70433
                                                     rachel@rachelandersonlaw.com
                                                     Phone: (985) 377-9271 / Fax: (985) 302-0972
       Case 18-12947 Doc 1 Filed 11/04/18 Entered 11/04/18 08:41:23 Main Document Page 26 of 27
                                      UNITED STATES BANKRUPTCY COURT
                                       EASTERN DISTRICT OF LOUISIANA
                                            NEW ORLEANS DIVISION
  IN RE:   Helen J Drouillard                                                       CASE NO

                                                                                    CHAPTER    7

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 11/2/2018                                           Signature    /s/ Helen J Drouillard
                                                                     Helen J Drouillard



Date                                                     Signature
 Debtor(s): Helen J Drouillard            Case No:                                  EASTERN DISTRICT OF LOUISIANA
          Case 18-12947 Doc 1 Filed 11/04/18
                                        Chapter:Entered
                                                 7      11/04/18 08:41:23 Main Document NEW
                                                                                          Page  27 DIVISION
                                                                                            ORLEANS of 27
Brock & Scott PLLC                     Thomas Guntle
1501 NW 49th St, Suite 200             54092 84th Ave
Ft. Lauderdale, FL 33309               Decatur, MI 49045



Choice Health Care                     Watson Clinic
515 Missouri Ave North                 1600 Lakeland Hills Blvd
Largo, FL 33770                        Lakeland, FL 33804



Citimortgage
PO Box 6243
Sioux Falls, SD 57117



Fifth Third Bank
5050 Kingsley Dr
Cincinnati, OH 45263



Hon. Catherine Combee
Polk County Courthouse
255 N. Broadway Ave.
Bartow, FL 33830


Honor Credit Union
8385 Edgewood Dr.
Berrien Springs, MI 49103



Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346



Mr. Cooper
8950 Cypress Waters Blvd
Coppell, TX 75019



Northshore Redi-Med
PO Box 54854
New Orleans, LA 70154-4854



Preferred Collection
1000 N Ashley Dr #600
Tampa, FL 33602
